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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 JAMES “JIM” CORNETTE,

                Plaintiff,                          Civil Action No.: 3:19-cv-00219

        vs.

 BRANDON GRAVER, WILLIAM J.
 MOLNAR, JR., individually and d/b/a
 THE INDY CONNECTION, and THE
 INDY CONNECTION, INC.,

                Defendants.

                                            ORDER


       AND NOW, this _____ day of ____________________, 2020, upon consideration of the

parties Joint Motion for Dismissal, it is hereby ORDERED, ADJUDGED and DECREED that,

pursuant to Federal Rule of Civil Procedure 41 (a)(2), this action is dismissed with prejudice and

without costs pursuant to the parties’ agreement.



                                                      BY THE COURT:



                                                                    The Honorable Kim J. Gibson
